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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 15-20545-CR-LENARD



 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.

 GUILLERMO A. SANCHEZ-BADIA,
 ISABEL C. SANCHEZ,
            and
 GUSTAVO J. GIRAL,

                Defendants.
                                         /

                       UNITED STATES= MOTION FOR ENTRY OF A
                           FORFEITURE MONEY JUDGMENT

        The United States of America moves for entry of a forfeiture money judgment against

 Guillermo A. Sanchez-Badia, Isabel C. Sanchez and Gustavo J. Giral (collectively the

 “Defendants”), pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and 982(a)(1),

 and Fed. R. Crim.P.32.2(b)(2). In support thereof, the United States submits the following:

        1.      On January 16, 2015, Defendants were charged by way of Indictment with

 Conspiracy to Commit Wire Fraud, in violation of Title 18, United States Code, Section 1349

 (Count 1), Wire Fraud, in violation of Title 18, United States Code, Section 1343 (Count 2), and

 Conspiracy to Commit Money Laundering, in violation of Title 18, United States Code, Section

 1956(h) (Count 9), amongst other charges. [ECF No. 3].

        2.      The Indictment further alleged that upon conviction of a violation of Title 18,

 United States Code, Section 1343 or 1349, the Defendants shall forfeit to the United States any
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 property, real or personal, which constitutes or is derived from proceeds traceable to said

 violations, pursuant to Title 18, United States Code, Section 981(a)(1)(C); and, the Indictment

 also provided that upon conviction of a violation of Title 18, United States Code, Section 1956,

 the Defendants shall forfeit to the United States any property, real or personal, involved in such

 offense, or any property traceable to such property, pursuant to Title 18, United States Code,

 Section 982(a)(1). The Indictment further provided as subject to forfeiture approximately

 $41,924,418.00, which represents the amount of money derived from the commission of the

 alleged wire fraud and money laundering offenses. [ECF No. 3].

        3.      On February 26, 2016 and March 21, 2016, the Defendants pled guilty to Counts

 1, 2 and 9 of the Indictment. As part of their plea, the Defendants agreed to the entry of a

 forfeiture order in the amount of $41,924,418.00. [ECF Nos. 72, 74 and 84].

        4.      The entry of an order of forfeiture in the form of a personal money judgment

 against the defendant is specifically authorized by Rule 32.2(b)(1) of the Federal Rules of

 Criminal Procedure. In fact, such orders of forfeiture are well-established. See United States v.

 Conner, 752 F.2d 566, 576 (11th Cir 1985). See also United States v. Navarro-Ordas, 770 F.2d

 969 (11th Cir. 1985).

        5.      Moreover, Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure provides

 that Ano ancillary proceeding is required to the extent that the forfeiture consists of a money

 judgment.@

        Further, once an order of forfeiture is entered, the United States may move at any time,

 pursuant to Rule 32.2(e)(1)(B) of the Federal Rules of Criminal Procedure, to amend that order

 to forfeit specific property belonging to the defendant or in which the defendant has an interest,

 in order to satisfy the money judgment.

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        WHEREFORE, based upon the foregoing, and the other matters of record in this

 proceeding, the United States requests the entry of the attached proposed forfeiture money

 judgment and for such other relief as this Court may deem just and proper.

                                                     Respectfully submitted,

                                                     WIFREDO A. FERRER
                                                     UNITED STATES ATTORNEY

                                                     /s/ Michelle B. Alvarez
                                                     Michelle B. Alvarez
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 19, 2016, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.

                                                     /s/ Michelle B. Alvarez
                                                     MICHELLE B. ALVAREZ
                                                     Assistant United States Attorney




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